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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION

IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION                                                                   MDL No. 3108



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −1)



On June 7, 2024, the Panel transferred 4 civil action(s) to the United States District Court for the District of
Minnesota for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
_F.Supp.3d_ (J.P.M.L. 2024). Since that time, no additional action(s) have been transferred to the District of
Minnesota. With the consent of that court, all such actions have been assigned to the Honorable Donovan W.
Frank.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the District of Minnesota and assigned to Judge Frank.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of Minnesota for
the reasons stated in the order of June 7, 2024, and, with the consent of that court, assigned to the Honorable
Donovan W. Frank.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the District of Minnesota. The transmittal of this order to said Clerk shall be stayed 7 days from the
entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period, the
stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:


     Jun 20, 2024
                                                            Tiffaney D. Pete
                                                            Clerk of the Panel
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IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION                                                  MDL No. 3108



                       SCHEDULE CTO−1 − TAG−ALONG ACTIONS



  DIST       DIV.       C.A.NO.    CASE CAPTION


ALABAMA NORTHERN

  ALN         5        24−00674    Trinity Medical Center LLC v. Change Healthcare Inc

CALIFORNIA EASTERN

  CAE         2        24−00766    Medina v. Change Healthcare Inc. et al

CALIFORNIA NORTHERN

                                   Bay Area Therapy Group a Marriage and Family Counseling
  CAN         3        24−01682
                                   Corp. v. Change Healthcare Inc. et al
  CAN         3        24−03147    Mehring, et al v. Patterson Companies, Inc. et al

LOUISIANA EASTERN

                                   Diagnostic and Interventional Spinal Care of Louisiana, Inc.
  LAE         2        24−01011    et al v. UnitedHealth Group Incorporated et al

LOUISIANA WESTERN

                                   Cardiovascular Diagnostic Center A P M C v. Change
  LAW         3        24−00623
                                   Healthcare Inc et al

MARYLAND

  MD          1        24−01204    Pivot Point Counseling, LLC v. Change Healthcare Inc. et al

MISSISSIPPI NORTHERN

  MSN         3        24−00063    Advanced Obstetrics & Gynecology PC v. UnitedHealth
                                   Group Incorporated et al

NEW JERSEY

   NJ         3        24−04044    LUXE DENTAL SPA LLC v. CHANGE HEALTHCARE
                                   INC. et al
   NJ         3        24−04364    LONNY DAVID MATLICK, D.B.A. LONNY D.
                                   MATLICK D.O. v. CHANGE HEALTHCARE INC. et al

OKLAHOMA WESTERN
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                                 Darek K Ridpath DDS PC et al v. Change Healthcare Inc et
  OKW       5      24−00541
                                 al

PENNSYLVANIA WESTERN

  PAW       2      24−00452      O'BRADOVICH v. CHANGE HEALTHCARE INC. et al

TENNESSEE MIDDLE

  TNM       3      24−00293      Herrick v. Change Healthcare Inc. et al
  TNM       3      24−00302      Lemke et al v. Change Healthcare Inc. et al
  TNM       3      24−00312      Amherst Psychiatric Services v. Change Healthcare Inc.
                                 Mt. Rainier Emergency Physicians, PLLC et al v. Change
  TNM       3      24−00323
                                 Healthcare Inc.
                                 Apex Physical Rehabilitation & Wellness PLLC v. Change
  TNM       3      24−00331
                                 Healthcare Inc. et al
                                 Be Well Integrative Health Partners, PLLC v. UnitedHealth
  TNM       3      24−00337
                                 Care Group Incorporated et al
  TNM       3      24−00339      Castell v. Change Healthcare Inc. et al
  TNM       3      24−00340      Shelor v. Change Healthcare Inc.
  TNM       3      24−00345      Therapy My Way et al v. Change Healthcare Inc. et al
  TNM       3      24−00349      Nicholls et al v. Change Healthcare Inc. et al
  TNM       3      24−00370      Through the Forest Counseling Inc. v. Change Healthcare
                                 Inc. et al
  TNM       3      24−00374      Rowe v. Change Healthcare Inc. et al
  TNM       3      24−00384      Fraker et al v. Change Healthcare Inc. et al
  TNM       3      24−00386      Paula S. Gordy LISW, LLC v. Change Healthcare Inc.
  TNM       3      24−00387      Sklar, DC v. Change Healthcare Inc.
  TNM       3      24−00392      Weller v. Change Healthcare Inc.
  TNM       3      24−00420      Eye Surgeons of Central New York, P.C. v. Change
                                 Healthcare Inc.
  TNM       3      24−00491      Citrus City Family Counseling, Inc. v. Change Healthcare
                                 Inc.
  TNM       3      24−00499      Santa Rosa Orthopaedic Medical Group, Incorporated v.
                                 Change Healthcare Inc. et al
                                 Renewed Hope Clinical Services, LLC et al v. Change
  TNM       3      24−00552
                                 Healthcare Inc.
                                 VIP Physicians Consulting LLC v. Change Healthcare Inc. et
  TNM       3      24−00556
                                 al
                                 Unity Medical Center Manchester et al v. UnitedHealth
  TNM       3      24−00612
                                 Group Incorporated et al
  TNM       3      24−00617      Ferguson v. Change Healthcare Inc. et al
  TNM       3      24−00618      Shillito et al v. Change Healthcare Inc. et al
  TNM       3      24−00619      Humphreys v. Change Healthcare Inc. et al
                                 H. Lee Moffitt Cancer Center and Research Institute
  TNM       3      24−00661
                                 Hospital, Inc. v. UnitedHealth Group Incorporated et al
